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ease 2:03-cr-20073-J MITI§&§$MYDL§|EBHBTO§)@§RF@\Q@ 1 of 3 Pagelo 49
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WESTERN DISTRICT OF TENNESSEE

U.S.A. vs. Jonathan Talley Docket No. M R~Q»Hi @-,-'H].
Petition on Probation and Supervised Release Qi‘:-“H, ' ' '*“.';‘Fl@

law m atf le DJ-Yl' CT'
t _ __ » . m ~ sitting

COMES NOW Edward E. Shaw PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of J onathan Talley who was placed on supervision by the Honorable J on Phipps
McCalla sitting in the Court at Memphis, TN on ththl_i day of October 2003 Who fixed the period of supervision
at three (31 years * and imposed the general terms and conditions theretofore adopted by the Court and also
imposed Special Conditions and terms as follows:

 

l. The defendant shall participate in Home Detention for a period of four (4) months [Completed]..
2. The defendant shall seek and maintain employment.

* Supervised Release commenced on May 2, 2004.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

In response to the defendant’s recent arrest for Domestic Assault and Public Intoxication, and his status as a state
sex offender, the defendant has agreed as indicated by his signature on the attached Probation Form 49 (Waiver of
Hearing to Modify Conditions of Probation/Supervised Release or Extend Term of Supervision), to the Court
imposing additional Special Conditions, which state:

The defendant is required to submit as directed by the Probation Oti:icer to mental health and sex offender
assessment/treatment The assessment and treatment may include the use of testing and polygraph to assist
in planning and case monitoring Any refusal to submit to such assessment or tests as scheduled is a violation
of the conditions of supervision The defendant shall waive all rights to confidentiality regarding sex offender
and/or mental health treatment in order to allow release of information to the U.S. Probation Ofticer and to
authorize open communication between the Probation ()fiicer and the treatment provider.

The defendant shall participate in a program which may include inpatient therapy for treatment of
drug/alcohol dependency, including testing to determine if you have reverted to the use of drugs/alcohol
The defendant shall also abstain from the use of drugs/alcohol during and after the course of treatment

PRAYING THAT THE COURT WILL ORDER that the conditions of the defendant’s Supervised Release be
modified by the addition of Special Conditions as indicated above.

 

ORDER OF COURT Respectfully,
Considered and ordered this <-Zl day
of ll \A\£ , 2005 and ordered filed and Edward E. Shaw, U. S. Probation OHicer
made a p of the records in the above case. Electronic Monitoring Specia|ist

 

/©’V\Q Wt (\M Place: Memnhis. Tennessee
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nit d States District Judge Date: __M__av 16. 2005
_ Tbis document entered on the docket sheet fn c`o$gipl€ancs @

 

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' PRoB 49Case 2:03-cr-20073-.]PI\/| Document 42 Filed 06/01/05 Page 2 of 3 Page|D 50
(3/89)

United States District Court
WESTERN District of TENNEssuu

Waiver of Hearing to Modify Conditions
of ProbationISupervised Release or Extend Term of Supervision

l have been advised and understand that l am entitled by law to a hearing and assistance of counsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended. By "assistance of counsel," l understand that l have the right to be represented at the hearing by
counsel of my own choosing if I am able to retain counsel. l also understand that l have the right to request the court
to appoint counsel to represent me at such a hearing at no cost to myself ifl am not able to retain counsel of my own
choosing

l hereby voluntarily waive my statutory right to a hearing and to assistance of connect l also agree to the
following modification of my Conditions of Probation and Supervised Release or to the proposed extension of my
term of supervision:

The defendant is required to submit as directed by the Probatiou Oj]"icer to mental health
and sex offender assessment/treatment The assessment and treatment mcn) include the use
of testing and polygraph to assist in planning and case monitoring Any re usal to submit
to such assessment or tests as scheduled is a violation of the conditions of superw‘siortl The
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treatment in order to allow release of information to the U.S. Probatiou Ojicer and to
authorize open communication between the Probatiou Ojjicer and the treatment provider.

 

 

and:
l’ou shall participate in a program which may include inpatient therapy for treatment of
rung/alcohol de;'.)ende.m:y1 including testing to determine if you have reverted to the use of
drugs/alcohol l’ou shall also abstain j?o.rn tire use of dugas/alcohol during and after die course of
treatment
Witncss: WM l Signed:
seward E. shaw ionarhgli ramey
U.S. Probation Officer Probationer/Supcrviscd Rclcascc

§~\\»O§

Date

   

UNITED S`T"RATEDISTIC COURT - WSTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CR-20073 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

Tirnothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

